Case 18-11659-LSS Doc 168 Filed 09/20/18 Page 1 of 27

liNITED STATES BANI\'R{:PT(`\` (.`OURT
DISTRIL`T ()F DEI,:\\\'.-\RE

ln re: Acti\'e{?are. lne. & 46 Biometrit's Case No. IS-l l6$9 & ll660
Reporting Period: lAugu:rt 31, 2018

!\'lOl\"l`Hl.\` OPl-IRA`l`l.\lC REPORT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Documcat Explaostiou Afidavit!Sapplement
REQUIRED DOCUMENTS Form No. Al“laehed Attlcded Atuu:hed
Schedule of C ash Receipts and l)tsbursemcms M()R-| X
Bzmk Reconei|i.ution (or copies of debtor‘s bank reconciliations) NEOR~la X
Schedule ol` Prt)l`essi()nal Fees Pal'd MOR-l b X
Coples of bank statements X
Cash disbursements journals - see MOR l N|OR-l
Statements of Operations MOR~Z X
DIP Budzet ~ Co:nparison to Actua| Mt)R-Za X
Ba|artce Sheet N|OR-S X
Status ot`I’ostpetition `I`axes M(_)R--'l X
Copies of IRS Form 6 |33 or oavmenl receipt None paid
Copies ot`tax returns ll led during reporting pertod None filed
Summar)-' of Unpaid Postpetition Debts MORA X
|_.isting ol`aged accounts payable MOR-4a X
Aceounts Rer.'ei\'able Reconcl|iation and Agina MOR~S X
Ltsttng ofade accounts receivable N|OR-Sa X
chtor Quesrionna:re MOR-.*‘\ X
I declare under penalty ot` perjury [?.S ll S.C`. Section |'Mé} that this report and the attached documents are true and correct to the
best ol`t'n)»l knowledge and bellcl`
f_§r;_bj_§;lg__l§;)senblum _____ ____ WEO:'ZU|S
Signature ol'Authorized |ndividual Date
Mark Rosenhlum Lai_rmg_g_and C`hlcl‘Exccuti\-'c OTT\cer
printed Name of Authorized |ndividu/ul T]t|e o|`Author:`zcd [ndividtla|
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626[}4426.1

 

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DEL-AWARE

In re: ActiveCare, lne. & 46 Biometries Case No. 18-11659 & 18-11660
Reporting period: August 31, 2018

Genera| Notes

l. All information in the package incluch the amounts and results l`or 4(`¢' Biometrics (Case no_ lS-l l()()(}}.

2. Summarized information l`or Stockholders‘ l)e!`leit tsee _\A()R 31 was deri\ ed from the (`ompan_\"s internal records. and may
not tie precisely into the detailed historical linant;inl reportingl |`or.lune 30. ltll?.

3. Per discussion with thc l.l.S_ Tl'tt§tcl:_ \\'l\ercct"cr pos$iblt: the L.`ompan_\ has provided or made tt.~;e ol` system-generated reports.

Nntes':

l ol`l

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|n re: ActiveCare. lne. & 4(} Biomctries Case No. 18-1 1659 & lS-11660
I)ehtor Reponing Period; August 31. 2018

SCHEI)ULE OF CASH RECEIPTS AND DISBURSEMENTS

Ju|y 16-31 Aug l-3l Cumu|ative to Filing Date
Cash Sales
Aeeounts Reeeivable $82,864.62 $l 19.032.13 $201.896.?5
Loans & Advances- DIP Loan $330,000.00 $330,000.00
Sale of Assets $-
Other $360,90 $360.90
Colleetion ot`Note Rec $400,000.00 $400,000.00
Total Reeeipts $4|2.864.62 S519.393,(}3 $932,25?.65
Net payroll $63._352.?9 3192.801,53 $256.154.32
Payrol| Taxes $-
Sa|es & Use Tax $-
lnventor’y Purchase $4'?.515.45 547,515.45
Leases 511.993.5? 31 1.998.5':'
|nsurance $22,800.8| S4.St}l .31 $27_.602.12
Administrative- travel & bus meals 34`124.48 $4,124.48
Payments to Critiea| Vendors 333.064.40 $31`553.34 364,61?.74
Other (see below} $61.1 81 .34 $1?`421.16 $?3.602.50
Pro Fees $-
US Trustee Fees $-
Court costs $-
Total disbursements $180.399.34 5310.2|5.84 $490.615.18
Net Cash Flow $232._465.28 $209. |T7.19 $441,642.4'?
|ess: DIP Loan $330,000.00 0 5330,0(}0.00
Net Operating Cash Flovil (5117.534.72_1 $209.177.19 5111,642.4')'
Other:
FEDEX! Postage $28'?.?8 S3.371.89
Advel'tlse "363 Sale" S9.540.00
IT software 560,1?2.81 52.966.65
Bank Fee $10?.14 5100.00
UT Corp Renewa| $20.00
Ot`l`tee supplies $368.38 5644,97
Child support services $225.23
Recruiting» CareCenter $'?9`:'.65
Tota| Other S61.181,34 $17,421.16
| ot`l

M('}R-i

62 oU~l»ll(J. l

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|n re. AciiveC'dre. |nc. & -'Kj Bionietrics

Casc No. |8-| 1659 &13~11660
choi't`ing Pcr`iod: i\ugust 31, 2018

 

 

 

 

Debtor
B.-\NK .-\(j('()l`NT l.\`l"()RMi\TI()N
(`on¢inuation 5heel for MOR-I
lLegal Emity lBank lBank Account l Bank Balance l
Acti\"e(_`are. inc Zitins Batnk $ 31 _1 1 1 64
Actix-'e(.`arc_ lnc Z`ions Bank 558_?1`}0.15
At:ti\-'eL`are. lne. Z`ions Bank -'1`6-18.56
`1`otaf cash iri bank accounts tli 594_461).35
1 . Note: Tliese t\\'o accounts are currently inactive so no reconciliation is required
B.-\NI\' RECOE\`{TI|,L\`|`ION
Cash per active account bank balance $ 558_?00.15
Checl-cs outstanding
M
16932 i53'i‘.5'~1)
1?142 t?._382.141
17143 (3_060_26}

88 twa l’a_vchex)
t.`ash per books - active account

inactive Zi`ons accounts
Casli per books

Notes.

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6260~1~'126_]

1225.23}
552_4\?4.98

31.]1].64

5 588.255.]8

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355 L.m .S.i_._=!..~ 15 .i.o.._< 125 §§E<
m _=N . :., “m:u_..¢. _.= on h__¢_. _v£»un_ u_: ucm..=_u _H_E__ $mz!.._: .5 weak _¢=£oou._o._h_ o: 395 u._~n:. »»,=Z
_1_._§_. _5=_52 i__r_.:.__ .Za =__,__ ,=_.x_:._;_=_5_¥.___€ 1!___5. __.. ..s_.a_....__ =_=?._.¢ .____
\»._zc n:._em :¢.<.¢ . §§ @m¢z§xu amc mwuh_ deza_¢¢d.*c¢._ h_a ui__Eu=.vw,

..__v~ ._.. ease a .__ h_e ._s_s“_ M=E§¢ _..._.e:

.E._:_ on `_w..»_ _..: .aZ H.__u

S_E_.S.x .Q» #. 2__ .E=vu.:u< 2 ___

 

CaSe 18-11659-LSS DOC 168 Filed 09/20/18

ZIONS BANKt

P.O. Box 30709, Salt Lake City, UT 84130-0709

Page 6 of 27

Statement of Accounts
Page 1 01 2

This Staterrient; August 31, 2018
|_ast Statement: Ju|y 31. 2018

For 24-hour account

 

 

0 0 7 6 2 ‘l 0 ;i,.:.i~i .\.',~i ii ii io./i i-i.i 't .ixi;'.','.rii_iiioo injormaiign| please gal-fact
ACT|VECAF{E |NC
1365 W 1250 3 STE too 1-300-739-BANK (2265)
OFiE|Vi UT 84058-2303 zionsbank.com
WE HAVEN'T FORGOTTEN WHO KEEPS US lN BUS|NESS. ®
SUMMARY OF ACCOUNT BALANCE
Checktng/Saw'ogs Outstanding
Aecouot Type Aceount Number Ending Bai'ancc Balances Owed
Coinrriercial Checking // $31,1 11,64
COMMERC|AL CHECK|NG 980898704 ins o
vai`ous Bai'arice Dcposi`ts.f€rodi`t‘s Chargesi'Dooi`t‘s Ci‘iecks Processed Eridi'ng Ba.-'ance
31,‘|1‘1.64 U.UO 000 D_OO 31,‘111.64

There were no transactions this period

There were no transactions this period

There were no transactions this period

AGGREGATE OVERDRAFT AND RETURNED lTEM FEES

Toral for Thi`s Poriod Totat Year“to-Date
Tota| Overdrart Fees $U.UG $D.oo
Tota| Reti.irned item Feos $0.00 $0.00

To learn more about our other products and services that may lower the cost of managing account
overdrafts or to discuss removing overdraft coverage from your sccount, please contact Custon'ier
Sorvice or visit your local cranch

De‘te.....,...,..,...,.,,....,.Sai'ariee'
08/3‘1 31,111.64

A division of ZE, N_A. |\i‘|en'ioer FD|C f=-‘a¢“l

 

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An Easy Approach To Balancing Your Account

Pago 2 ot 2

 

'l‘o reconcile your checkbook balance to your statement balance: Marlt oil each entry in your check register that has been charged to your
account during the statement period List the checks you have written. but arc not yet charged to your account in the "Chcclrs Outstanding" column

balow. Then, follow the instructions in lines 1 through 10.

 

CH ECKS OUTSTANDlNG l

 

Chock Numbor l Chock Amount

1. L|ST your checkbook balanco_

GHECKBC|OK BALANCE

_____________.. .. T. ___ _ ___.

 

 

 

2. ADD any deposits or other credits listed on the front of this statement
which you have not recorded iri your checkbook isuch as payroll credits
or other direct electronic doposita_*il

 

3 SU BTOTP. |_‘.

 

 

 

4. SUBTRP.CT any charges listed on the lront ot this statement which
you have not recorded [sucn as service charges automatic transfers l
electronic transactions otc), _!

 

 

 

5. ADJUSTED CHECKBOOK BALANCEZ -'i'i

 

 

'l`hls balance should agree with line 10. ooloiv,

 

 

STA'|'EMENT BALANCE

 

 

Slale lT`iE!l'l l.

E_ L|ST your current statement balance as shown on the front ot this

 

7. ADD deposils madc, but not shown on this statement

 

 

B. SUBTOTAL:

 

 

9. SUBTHACT total from "Checlis Outstanding_"

 

""l

TOTAL: i~

 

 

 

 

10_ ADJUSTED STA`|'EMENT BA|.ANCE: "‘“'

 

 

transfer to Line 9.

PROMPTLY EXAMINE YOUR STA?EMENT AND REPORT AN`I"
PROBLEM

You must promptly examine your amount statements and report any
discoverable errors. unauthorized signaturesl alterationsl missing
endorsements or unauthorized transfers Failure to do so may result in
your loss of certain rights or remedies For examplel you must identify the
discoverable alteration or forgery of a check within 30 days of us sending
you. or making available to you, the statement reflecting that check, and
you must also immediately report to us what you lind. Eiusinesses would
check their account transactions daiiy, for which various online services
are available For additional inlon'nat`ion. please see your deposit account
agreement and application service agreement(si for details See also the
consumer disclosures below.

CON$UN'EER ACCOUNTS: lN CASE DF ERRORS OR QUEST|ONS ABOUT
YOUR ELECTRON|C TRANSFERS DR CHECK RESERVE TRANS ACTlONS
A:s soon as you cont please notify us it you think art electronic transferor
Check Resorve transaction iS vv'rortg or il you need more information aboul
a transaction listed on the statement We must hear horn you no later than
60 days after We sent or made available the FlRST statement on which
the problem or error appeared The provisions in this paragraph do not
apply lo business or other non-personal accounts 'l"he owners of those
accounts must settle all unauthorized transactions or errors within 24
hours of receipt of the item posting in order to be returned.

1_ Toll us your name and account number

2_ Dcccribo the error or the transler you are unsure about and explain as
clearly as you can why you believe it is an airor or why you need more
information

3. Te|l us the dollar amount ot the suspected error

For CHECK RESERVE aecourit¢: You do not have to pay any amount in
question while we are investigating but you are still obligated to pay the parts

'l'hi's balance should agree with line 5. abova.

cl your bill that arc not in question `t'he cr'iorge in question may remain on
your statement and we may continue lo charge you interest on that amount

But, if we determine that we made a mistake. you will not have to pay the
amount in question or any interest or other rees related to that amourt_ \Nhile
we investigate your ouestion, we annot report you as delinquent or lake
any action to collect the amount you question. ‘r"ou must noti|y us in writing
You can telephone us, but doing so will not preserve your rights Conliact us
atzions Banlt. PO 501 25787, Salt Lake Ctty. UT 34125-0?8?

For electronic transferor title will investigate your complaint and will correct
any error promptly it we take more than 10 business days to do lhis. we will
credit your account for the amount you think is in error. so that you will have
the use ot thc money during the time il takes us to complete our investigation
Contecl us at Zions Bank, El'-`l Dept, F'O Box 2583?'. Salt Lalr.e City. UT
84125-083? or 1-300-662-4346_

Balani:e Subject to interest Rate: We use the method called "averagc
daily baiance”. (including current transactions) to calculate the daily
balance if you have any further questions about the method and how
resulting interest charges are determined please feel free to contact us
at 1-800-9?4-8800.

Wc may report information about your Check Reserve account tro credit
bureaus. La|e payments missed payments or other defaults on your
account may be reflected iri your credit report

P|ease notify ue it we moon any inaccurate information about your
accoun‘t[si to a credit bureau. Your written notice describing the specific
inaccuracy should be sent to us at the following address: Zions Bank, PO Box
25787, Soil Laile City. UT 84125'0?8?

Tha'nk you for banking with Ziioris Barik.

\l'lslt us onllria at www.:lonsbank.com
Fteview account balances ¢ Ftcview posted transaclions - Pey bills - Traristar lands
Catl 1-800-840-4999 to enroll today

`l`lf'-`.-_` ` ‘-f\‘.“ll 'r |`=~."i'.' l-‘t."-l

A division onB, N_A_ llliernber FD|C

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Statement of Accounts
ZIONS BANK® 6

P.c. Box 30709, salt Lai;e city, U"r 34130-0709 §§ §t‘:f;`:§:: JASSY 321,'1:;018

For 24-hour account
0 D 7 5 0 2 0 ir..i»i-iio-iic_ii tim i+i 'r xii i'.J. .=-ui.xi;ti :- information please Odrllat':l:

ACT|VECAFlE lNC

ACT|VECAFlE lNC BLOCKED ACCOUNT FBO
PAFlTNEF-lS FOF'l GROWTH |V LLC

1355 W1250 S STE 100

OF'lEM UT 34058-2303

‘i-Soo-rss-BANK {2265)

zionsbank.com

WE HAVEN'T FORGOTTEN WHO KEEPS US lN BUS|NESS. ®

 

SUMMARY OF ACCOUNT BALANCE

 
    
 

 

Checklngf$aw'ngs Outstandt'ng

Account Type Accourrt Number Endlng Bafance Balances Owed
Comrnercial Checking l $558,700.15
COMMERCIAL CHECK|NG 980556633 ice 20
Previous Balance Deposrts/Credi`rs Charges/Debi`ts Checks Processed Endi`rrg Balance
349,522_96 519,393.03 291 ,999.66 l8,216.16 558‘700.15

32 DEPOS|TSlCRED|TS

Dare Amount Descrrpti`cn

08!01 1,46?.80 HNB - ECHO HCCLA!MPMT 870578125 REF tr 0182‘|3002918729 1122711875

08l02 821.92 l~lNB - ECHO HCCLAIMF'MT 870578125 REF tit 018214003974875 112227375‘|

08l02 8,339.61 W|REllN-2D180802000049‘|2;ORG RX BENEF|TS tNC;OB| 7152018;REF 1314203113

OBlOB 10,646.80 RE|'leTE DEPOSlT 00000000000000000145 7676146931

08!06 3500 MERCHANT BNKCD DEPOSI`|' 385201297889 REF li 0182180054213?5 ‘|129307016

OBIOS 3,244.58 REMOTE DEPOS|T 00000000000000000146 7675299603

OBKOF 3?5.09 i-lNB - ECi-lO HCCLA||\."|PMT 8?05?8125 REF iii 01821900?‘|24163 1122085349

08)`07 6,053.94 REMOTE DEPOS|T 00000000000000000147 7675107229

08!07 715.92 WiREllN-?D18030700003776;ORG WOMAN'S HOSPITAL FOUNDATION D B 1311002744

08!08 125_98 MERCHANT BNKCD DEPOS|T 385201297889 REF lt 018220008090274 1119604485

08!13 330.00 GBCCORPORATE ACHBATCi-t REF rif 018225000170285 1123545515

08113 2,888.69 HNB - ECHO HCC|_A|MPMT 8?0578125 REF tr 013225000065513 1123538441

08!13 5,211`27 HNB - ECHO HCCLA|MPMT 8705?8125 REF il 013225000065515 1123538442

05113 21,9?5.18 DEPOS|T ?5?6350840

Ci&'l§ 0.78 Advanced CFO \lerify 015KHDHJCOLJKLJAMREF tit 018227002048972 1120999?16

08!15 125.98 HNB - ECHO HCC|_A|MPMT 570578125 REF # 015227001920875 1120995064

UBME 509.95 HNB - ECHO HCCLA|MPMT 8?05?8125 REF lt 018228002359981 1119468026

08!16 2,158_35 DEPOS|T 7676141435

06117 ?,114.68 RE|'v‘|OTE DEPOS|T 0000000000000000000? ?6r6‘|09551

05£17 400.000.00 WlRErlN-ZGlBDSl?DOGUSDBS;ORG FR|DAY HEALTl-i PLANS 1312505198

DBJZD 299.21 PAYCHEX |NC. PAYROLL 7763740000007BXREF lt 018232004384434 1123448656

05120 837.90 HNB - ECHO HCCLA|MPMT 870578‘|25 REF # 01823200451399? 1123452585

DBlZl 18,394,25 REMO`|'E DEPOS|T 00000000000000000008 7675046?69

DBlZl 3,522,64 W|REl|N-2018082100002745;0RG RX BENEFlTS |NC;OB| 7312018;REF 1311402062

03£23 194_11 COCHO|CEHP HCCLA|MPMF REF # 013234006692321 1119?36129

08£23 625.94 l-lNB - ECHO HCCLA|MPMT 8705?8125 REF lt 013235006977209 1119762847

05123 4.989_52 RE|'vtOTE DEPOS|T UDDODOOOODUOOODOODOQ 7676072402

08!24 25.91 7469216KV2XHNZH6P 5415 Arnazon_com Amzn.convbi|l WA 1220196157

08l28 15,942.90 DEPOSlT 7575174899

DBJSO 110_00 |'leRCHl-'\NT BNKCD DEPOS|T 385201297889 REF lt 013242001208305 11 18504593

08!30 1,092,19 HNB - ECHO HCCLAllleMT 870578125 REF # 013242000888281 1118555373

08!30 1.216.44 COCHO|CEHP HCCLAli\ilP|v|T REF itt 018241010794253 1118638997

‘“%¢- \i' '._'_'-i¢iil~'l'-.-`->_~--;.~"-

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x
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Case 18-11659-LSS DOC 168 Filed 09/20/18 Page 9 of 27

An Easy Approach To Ba|ancing \‘our Ai:count

Page 2 of 6

 

To reconoite your checkbook balance to your statement balance: tvtarl< off each entry in your check register that has been charged to your
account during the statement period. List the checks you have written. biit are not yet charged to your account in the "Checks Outstanding" column

batow, Then, foltow the instructions iri lines t through 10.

 

CH ECKS OU‘l'S`FANDlNG

 

check uumeer check mount 1-

 

LiST your checkbook balance i

CH ECK BOOK BAL)\ NCE

 

 

 

2. ADD any deposits or other credits listed on the front of this statement
which you have not recorded in your checkbook touch as payroll credits
or other direct electronic deposits_l

 

3. SUBTOTAL:

 

 

 

,.. 4. SUBTFtACT any charges listed on the front oi this statement which
you have not recorded touch as service charges automatic transfers
electronic transact'ion:~',l etc].

 

 

 

5. ADJUSTED CHECKBOOK BAi_ANCE:

 

 

'i"hr's balance should agree with line ltJ. below

 

 

STATEMENT BALANCE

 

 

statement

6. LlS"|' your current statement balance as shown on the front of this

 

7. ADD deposits made but not shown on this statement

 

 

8. S U BTOTAL:

 

9. SUBTHACT total trom "Checks Outstariding."

 

 

L"`i

TOTA L:

 

 

 

 

10. ADJUSTED STATEMENT BALANCE_'

 

 

transter to Line Q_

PROMPTL'( EJ(AM|NE YOUR STATEMENT AND REPC|RT ANY
PROBLEM

You must promptly examine your account statements and report any
discoverable errors unauthorized signaturesl alterations missing
ent'lors.el't'lentsl or unauthorized transfers Failure to do so may result in
your loss of certain rights or remedies i'-`or example you must identify the
discoverable aiteration or forgery of a check within 30 days of us sending
you. or making available to you. the statement reflecting that check_ and
you must also immediately report to us what you find Businesses should
check their account transactions daiiy, for which various oniine services
are available For additional information please see your deposit account
agreement and application service agreement{s‘i for details See also the
consumer disclosures oe|ow.

CONSUMER ACCOUN`TS: lN CASE OF ERRDRS OR QUEST|ONS ABOUT
YC|UR ELECTRG|\EC TRANSFERS OR CHECK RESERVE TRANS l\CT|ONS
Plt.\ soon as you cari, pie-use notify us if you think an electronic transfer or
Chaci< Reserva transaction is wrong ot il you need more information about
a transaction listed on the statement We must hear from you no later than
so days after we sent or made available the FlRST statement on which
the problem or error appeared T'l'ie provisions in this paragraph do not
apply to business or other non-personal accounts The owners of those
accounts must settle atl unauthorized transactions or errors within 24
hours ot receipt of the item posting in order to be returned

‘l. Tell us your name and account number.

2. Describo the error or the transter you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
inlormetion_

3. Teil us the dollar amount ot the suspected error

For CHECK RESERVE acccuht¢: You do not have to pay any amount in
question while we are investigatingl but you are still obligated to pay the parts

'i'tiis balance should agree with line 5. above

of your pitt that are not in questionl The charge iri question may remain on
your statementl and we may continue to charge you interest on that amount

But, if we determine that we made a mistaka. you will not have to pay the
amount in question or any interest or other fees related to tt'iat amourtt. Wi'iiie
we investigate your question, we cannot report you as delinquent or lake
any action to collect the amount you qt.it=:stionl ‘i'ou must notify us in writing.
You can telephone us, but doing so witt not preserve your rights Contact us
atZions Bank, PO Eo>< 25?8?. Salt Lake City. l..lT 34125~0?8?.

For electronic transfers: live will investigate your complaint and will correct
any error promptlyl lt we take more than to business days to do this, we will
credit your account tor the amount you think is in error. so that you will have
the use of the money during tile lime it takes us to complete our investigation
Con|act us at Zions Bank. EFT Depl. F'O Eloi< 2583?. Salt t.ake Cityl UT
84t25‘083? or 1~890-56214345_

Batant:e Sub|`ect to interest Rate: We use the method called "average
daily baiance". (including current transactions) to calculate the daily
balance lt you have any further questions about the method and how
resulting interest charges are determined please feel free to contact us
at ‘|-800-9?4-8300.

We may report information about your Ct'ieck Fleaerve account to credit
bureaua. Laie payments missed payments or other delaulls on your
account may be reflected iri your credit report.

Pleaae notify us it we report any inaccurale information about your
account[s) to a credit buraet.l. `i‘our written notice describing the specific
inaccuracy should be sent to us at the ioi|owing address: Zioris Bank, PO Box
25?8?, Sait Lalte C`ity. UT 84125~0'?8?

Triank you for banking with Zi'oris Baritr.

Vlsit us online at www.zionsbank.com
Reviaw account balances ' Fterview posted transactions - Pay bills - Transier lurids
Call 1-500~540-4999 to enroll today

 

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Page 3 of 6

zIONS BANK
® ACT|VECARE |NC

P.O. Box 30709, Sa]t Lake City, UT 84130-0709

Date

08!01
08!01
DBFO1
08101
08!02
05.'02
08!02
08!02
03102
08!02
08!03
08!03
OEL'OB
0&;06
OB)‘O?
08!03
DBJOB
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08f1O
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081'1?
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7414361|(5005824[£[§ 5415 PAYPRO-CHARGE_COM 15468?36357 GB 1222908183
2469215K52XW30930 5415 SFAX 8??-493-1015 CA 1222908180
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241640?1(5|1.»"|.}820293 5415 FEDEX 3894866?8 800-4633339 TN 1222908179
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241640?K6MJ85HVVS 5415 FEDEX 389584196 800-4633339 TN 1226904744
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2444500K?EJONJA4Y 5415 9105 Dominoe Pizza 734-930~3030 UT 1230903502

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2444500KBUOKS4VLM 5415 USF'S K|OSK 4966309551 ORE|V| UT 1223086189
241640?KBMJ8N390F 5415 FEDEX 389392614 800-4633339 TN 1220300959
2455536K3311'|HWKBG 5415 TRACO MANUFACTUR|NG 801-2258040 UT 122030[}95?
2449215KBS1DRZL39 5415 HUMANI`|'YCON'| 888-973-6030 CA 1220300958
241540?KDMJB4RTBK 5415 FEDEX 390265819 800-4633339 TN 1219300440
2444500KEODKH2BJ4 5415 USPS PO 4966300150 OREM UT 1219300441
2405523KE61K1?FJQ 5415 LES O]_SON COMPANY 301-485-`.-'431 UT 1219300442
PAYCHEX-HRS HRS PMT 28116104 REF #018222009593307 1118519040
2469216KE2XHXB?GM 5415 Amazon.com Amzn_c:om!hil| WA 1224700515
2443106KF2DYM4OWD 5415 AMZN MKTP L.JS ANEN.COWAMZN.CO|WB|LL W 1224700515
2459216KF2Y1WGXG1 5415 CARRAESBA'S 9501 OREM UT 1224?[)0514
2416407KFMJ88YOT4 5415 FEDEX 390379415 800~4833339 TN 1224?00513
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W|REFOUT-QD180822000023?0;BNF Micmsofl Corporation;REF |mr 1310801667
241640?KTMJ?SXM3F 5415 FEDEX 391395850 800-4633339 TN 1220400094
2444500KSOOKKE46F 5415 USPS PO 4966300150 OREM LJT 1220400095
2443099KV2LXDX3`[B 5415 DR|'DR!VEREASY - S|NGLorderhnd,com M 1220396063
241640?KSMJ?XMLEE 5415 FEDEX 391526404 300~4633339 TN 1220396062
AF|_AC |NSURANCE CCM52119253 REF # 018234006382634 1119?2?385
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241640?|»(\!|\)1.]7|\|)(530 5415 FEDEX 391641823 800-4633339 TN 1220196158
2444500KWDOKB?»NNG 5415 USPS PO 4966300150 OREM UT 1220196159
2444500KXEJDBGX46 5415 PAPA JOHN'S #1233 801-??6-1600 L.JT 1225397638
QMHGDKWBPPDRGSP 5415 SMlTHS FOOD #4144 OREM UT 1225397639
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WiREfOUT-201808310000?629;BNF TELCARE MED}CAL SUF'PLY;REF Act 1309605181

 

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Page 401 6
August 31. 2013
ACT|VECARE |NC

ZiONS BANK

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AGGREGATE OVERDRAFT AND RETURNED ITEN| FEES

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To learn more about our other products and services that may lower the cost of managing account
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Service or visit your local branch.

DA|LY BALANCES

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Filed 09/20/18 Page 13 of 27

 

 

 

 

   

   

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Page 6 of 6

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Statement of Accounts
IONS BANKde

P.o. Box 30709, salt Lake ciiy, U'r 34130-0709 §§ §§ng jj§“§‘ §151:§,°13

For 224-hour account

 

 

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PAFtTNEFlS FOFt GFtOWTl-l |V LLC -

1365 W 1250 3 STE 100 Z'°"sba"k'c°m
OFIEM UT 84058-2303

WE HAVEN’T FORGOTTEN WHO KEEPS US |N BUS|NESS. ®

SUMMAR¥ OF ACCOUNT BALANCE

Checkingf$avings Outsi:anding

Account Type Accoum Numher Ending Balance Batances Owed
Commercial Checking $4.648.56

COMMERC|AL CHECKING 980556641 ina o
Previ`ous Ba!ance Deposirstredirs Chargesteb-"!s Checks Procassed Ending Baiance
4.548.56 0.00 D.DO 0.00 4,645.56

0 DEPOS|TSICREDETS

There were no transactions this period.

0 CHARGESIDEB|TS

There were no transactions this period.

5 .cHE.C.K..S. .F.‘éd.cE. S..S.E.D. .....................................................................................................................
There were no transactions this period.

AGGREGATE OVERDRAFT AND RETURNED |TEN'| FEES

Totai for Tiv`s Panod i'ota.l Year~to-Date
Tcta| Overdraft Fees $D.OU $0.00
Tota| Returned item Fees $0.00 $0.00

Tc learn more about our other products and services that may lower the cost ot managing account
overdrafts or to discuss removing overdraft coverage from your accountl please contact Custcmer
Service or visit your local branch_

Date............._...__....__.Ba.-'ance
03'31 4.648.55

A division OfZE, N.A. |\.-iel'l'ibe!' FD|C L'-°‘-`$= -'- :' -` ' '-"‘-"' 5"' '

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An Easy Approach To Balanci rig Vour Accourit

Page 2ol 2

 

To reconcile your checkbook balance to your statement balance: Mark off each entry in your check register that has been charged to your
account during the statement period List the checks you have written, but are not yet charged to your account in the "Checks Outstanding" column

be|ovii. Thah` follow the instructions in lines 1 through 10.

 

CH EC KS OUTSTANDING

 

Cn@ci< number l check mount l-

 

L.lST your checkbook balance

CHECKBOOK BALA NCE

 

i\.‘i

 

. ADD any deposits or other credits listed on the front of this statement
which you have not recorded in your checkbook lsuch as payroll credits
or other direct electronic deposita)

 

SUBTOTAL:

 

03

 

 

 

_ ' 4. SUBTRACT any charges listed on the front of this statement which
you have not recorded {such as service charges automatic transfers
electronic transactionsl etc].

 

 

 

5_ ADJUSTED CHECKBOOK BAl_ANCE:

 

 

'l'hrs balance should agree with line IG. beioi¢v.

 

 

STATEMENT BALANCE

 

 

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6. LlST your current statement balance as shown on the front of this

 

? ADD deposits macle. but nol shown on this statement

 

B, SUBTOTAL:

 

9. SUBTHACT total from "Cl'ieclis Outstanding."

 

 

Lmi

TO`|"A L: -

 

 

 

 

iCl. ADJUSTED STATEMENT BALANCE;

 

 

Transler to Li'ne 9_

PROMPTLY EJ(AM|NE YOUR STATEMENT AND REPORT AN¥
PROBLEM

You must promptly examine your account statements and report any
discoverable errors_ unauthorized signaturesl alterationsl missing
endorsements or unauthorized transfers Fai`lura to do so may result in
your loss of certain rights or remedies For example_ you must identity the
discoverable alteration or forgery of a check within 30 days of us sending
you. or making available to you. the statement reflecting that check, and
you must also immediately report to us what you find. Busi`nesses should
check their account transactions dailyl for which various online services
are available For additional information please see your deposit account
agreement and application service agreemaht(sl for details See also the
consumer disclosures below

CONSUMER ACCDUNTS: |N CASE QF ERRORS DR QUES`TIONS ABOUT
YCUR ELECTRONiC TRANSFERS OR CHECK RESERVE TRANS ACT|ONS
For soon as you cair. please notify us il you think ali electiuriic transfer or
Cltecl< Resoive transaction is wrong or il you need more information about
a transaction listed on die statement We must hear from you rio later than
60 days after we senter made available the FlRST statement on which
the problem or error appeared, The provisions in this paragraph do not
apply to business or other non-personal accountsl The owners of those
accounts must settle all unauthorized transactions or errors within 24
hours of receipt ot the item posting in order to be returned.

1. 'l`el| us your name and account number.

2. Describe the error or the lranster you are unsure about. and explain as
clearly as you can why you believe ii is an error or why you need more
information

3. Tell us the dollar amount ot the suspected error

For CHECK RESERVE acooiirrto: You do not have to pay any amount in
question while vile are investigatingl but you are shll obligated to pay the parts

'.|"l`ii's balance should agree with line 5. above

of your bill that are hot in question The charge in question may remain on
your statement and we may continue to charge you interest on that amount

Eii.rt, ifvve determine that we made a mistakel you will not have to pay the
amount in question or any `nl.erest or odter fees related to that amourit. Whlle
we investigate your question. we cannot report you as delinquent or take
any action to collect the amount you questionl You must notify us in \i\rritihg.
You can telephone usl but doing so will not preserve your rights. Contaot us
at?_'ioris Banlil PO Boii 2578?, Sait Lalie City, UT 84125~078?.

For electronic transferor We will investigate your complaint and will correct
any error promptly ll we take more than ltl business days to do this. we will
credit your account for fha amount you think is in error. so that you viiil| have
the use of the money dining the lime it takes us to complete our investigation
Contacl us at Zioris Banli. EFT Depl. F'O Elo)i 2583?'_ Sell Lalie City, LJT
84125-083? or 1-800-662-4346.

Balarlce Sl.lbject to |nllerest Rate: We use the method called "average
daily balance“, {including current transactional to calculate the daily
balance lf you have any further questions about the method and how
resulting interest charges are determinedl please feel free lo contact us
at 1-800-9?4-6800.

We may report information about your Check Reeorvc account to credit
bureaus. Late payments. missed payments or other defaults on your
account may be reflected in your credit report

P|ease notify us it we report any inaccurate information about your
account(sl to a credit bureau. roth written notice describing the specific
inaccuracy should be sent to us at the foi|owing address: Zions Banlr. PO Box
2573?. Sall Lal-ie City. U'i' 84125-078}'

Tnarik you for banking with Ziohs Banlr.

visit us on||rie at w\ivii\r.ziorisbarik,com
Fieview account balances - Flev=aw posted transactions v F'sy bills ' Tiansfer |unds
Call 1-800~840~4999 to enroll today

 

 

Case 18-11659-LSS DOC 168 Filed 09/20/18 Page 16 of 27

fn rc: ActiveCari-;:. [nc. & 4(3 Bioinctrics C`ase No. 13-11659 & |1660
chtor iiticpor'tih;,I Pcriocl: August 1 lo August 31. 2018
ACTIVECARE. INC.

STATEMENTS OF OPERATIONS
For the month and period ended August 31, 2018

The Statetnents of Opcrations are prepared on an accrual basis

 

 

 

 

 

Month
ended Cumutativc
August 31, filing
2018 to date
Rcvcnuc. net $ 29?.480.80 $ 394`]66.30
Cost of` revchue:
Product and freight 164,010.?5 |9| .98 l ,08
harbor and related costs 30.6?5.62 46`823.6?
Commissions 3 | .5?7,33 39`9?0.94
Tota| cost of revenue 226._263.?0 2?8.??5.69
Gross profit TliZl?.lO |15.391.11
Opcrating expenses:
'l`rave| expense 6‘460.62 9.?6?.05
Payroll expense 113.152.35 |86.932.87
Administrativc expense 26.6?7.9? 28,575.79
Deprcciation and amortization 2.| 1934 3._884.80
Othcr office expenses 19.072.3? 28.292. l 9
chal and professional expense 14.332.00 22.492.05
insurance expense 14,179.42 16.4?8.64
Total operating expenses 195.994,0')' 296.423.39
Loss from operations (f24.7'l6.9'l) (181.032.28)
Discounl's. interest. and other expense (3.688.?7) (| l,?87.33)
Prc-petition amount write-nffe and settlements (157.225. l 'l) (157,225.1?)
th loss $ (285,690.91) $ (350.044.?8)

 

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Case 18-11659-LSS DOC 168 Filed 09/20/18 Page 17 of 27

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Ca_se ;\lo. lH-l l()§‘) & l 1660
Reporting l’eried: August 31. 2018

|n re: Actichare. lnc. & -'-‘iG Bit)metrics
chtor

BALANCE SHEET

The Ba|ance Shcet is completed nn an accrual basis only.
Prepetit'ie-n liabilities are classified separately t`rorn postpetition et:¢|igatietnsl

ASSl-ZTS
C`urrent assets:
Cash
`[`rade accounts receivable net
Nete receivable
lnventt)r}-l
Prepaid expenses
Other receivables
Aeerued interest receivable
ll`otal current assets

l‘reperty and equipment
Machinery land equipment
l_.easel‘told improvements
l~`urniture and |`ixtures
Aceumulatcd depreciation

'l'Olal property and equipment

()ther assets
Dt)main name and customer contacts net
()ther long-term assets
l’atents. net

ll`otal ether assets
`|`otal asssels

l..l.ABll.l1`lES v\l\`l) STO(.`|\’HOLDERS' D[~lFl(.`l'l`
liabilities not subject to compromise:

Accuunts payable
Nutes payable debentures and line et`eredit
Notes payable - D[P (ineluding interesl]
Amounts due to insiders
Dividends payable
Aecrued liabilities
Contingent liabilities

`l'otal liabilities not subject to compromise

Liabilities subject to compromise (prepetition):
Aeeounts payable
Notes payab|e. debentures and line et` credit
/\mounts due to insiders
Dividends payable
Acerued liabilities
Contingent liabilities
Tota| liabilities subject to compromise {prcpetitien]

Total liabilities

Stoekbolders‘ det'lcit

Total liabilities and stockholders det`lcit

| o|`i
62604426.|

Bot)k value at
the end of the
current reporting
month as of

August 31. 2018

$ 538.255. l 8
570.409.78

il l.732.50
21.999.93

21.()6

l .252.4 l 8.45

87.436.|3

98.023.37

68.242. l 9
t24 l .27 l.46)

l2.48().23

7.924.7|
lt).‘)69.99

18.894.?0

$ 1.283.')'93.38

123.532.31

34 l.787.33
22.‘)84.(}6

64.473.27

552.?76.9?

4.441.079.89
24.939.873.08
5.')' l [).473.94
855.392.3?
492.50 l . l 6
?5[).000.00

37,[89.32()_94
37.742.{}97.'-)|

(36_458.304.53)

$ l.283.793,38

 

Case 18-11659-LSS DOC 168 Filed 09/20/18 Page 19 of 27

in rci .»\cnchare. lnc. & 46 Btemetrtes L`ase Nn. lS-l 1659 & l 1660
Dehtor Repm'ltng Period: August l to August 3 l . 20 l 8

STATUS OF POS'[`PET|TION TAXES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Begillning Amount finding
Tax Withheld ar Ammmt Dates Check No. Tax
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Federal
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l"lt'_`A-Empltwce 3_?46 23 '."`262.86 ll_t')t']‘}.t)*} 8)'2. 8-“"|5. & 829 Wires *
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llnemPlo\-'inent 4.'!3 3 55 l3 _il 8.“`2_ Sr'l 5_ & 8!1’.9 WireS -
lncornc - - - -
Otiter: v - - -
`l`otal Federal Taxes $ l4`t')`.-'5.-'l? Eli 28_768.23 35 43_443.'!0 $ -
State and Lni:al
W` ` ` 2_|41..'§':’ _` -l.lUJ.|? 6.2-14 44

    

Sales - -
Excise - _

8[).24 218.96 ' ` 3.#'15. & 839
Real . .

Personal _ .

Other: - -
Total Stale and l.ocal 2_.'12| .5l 4_241.80 6_463.40

'l`otal Taxes lt)_R% 98 ` 33_¢] l U ll 5 49_9{}?. 10

SL`MMARY OF lePAlD POSTPET|TION DEBTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number of Days Past Due
Current 0-30 31-60 61-9'|] D\'er 90 Total

Accounts Pavable $ 94.333.9? $ 35.392 lt} $ - ii - 5 - $ 129_?Sl .O'l'
Wages Pavable tunc weeks or a li“.'! pav period) 26.46?.33 - - - - 26.46?.38
Act:rued P"l`O |S_l¢lS.HS - - - - lS.l¢lB.SS
Acerued commissions 31_802.!}2 - - - - 32.802.02
()ther: Dll" debt (including interesl} 3_(183.?? 338_{}98_56 - - - 341_?3':'.33
Otlier: Aecrued Board ol` Director fees 2_500.!)0 I.ZQL\._'SZ - - - 3.?90_32
'l`otal Postpetilion Dehts 5 l'i"."_qg§.‘}'§? $ 3?4_?30 98 5 ~ $ - $ - 5 552.??6 9'?
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6260-14261

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Deblor

CaS_e 18-11659-LSS

Inc.'. 46 Biometri cs

DOC 168 Filed 09/20/18

Act'lvecare, lnc.

l.lstlng of Aged Aecounts Pavah|e

August 31, 2018

Page 20 of 27

(`ase lB-[l659; l l660
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v10660 Ho|land Bt Hart ill,$BS.BOJ llt,$?»B.SOl
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|nre:.J\cti\-'eCare_Inc.:4G BG|GSL@ 18'11659'|_88 DOC 168 l:lled 09/20/18 Pa.ge 21 Of 27 Cas¢]g_]|(,§g; tim

Debtor Period; August 31, 2018

Ar:tive€are, lnc.
Listing of Aged Acl:ounts Pa\rable

 

 

August 31, 2018
Vendor Cude l Vendar Name l Batance Due I_ 0 - 30 l 31 - 60 l 61 - 90 l 91 - 120 l 121+
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VlOSS'r-' JiveCommunications [34?.30}' 134}'.30}
VlO?BB John C, Nelsori, MD, MPH {1,500.0[]} n 1[1.500.{]0]
winsor _i< assign [244.851` ` czriri.ae}
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\.1'105?4 LanguageTrans|ation, |ric. 125.66] n (25.66}
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VlOBSEi Lockard &W`l||iams [5,590.0011 tlt][}.{lt]}l tSl0.00) [240_00} {1,290_00l ld,dSO.DO]
VlDBBZ Lucnskv Brelokman LLP iBO‘_-J,Zl[].?§ll {3,500.00} {3,500_00] {502,210.?5]
V10939 N|abev, Dan [32,295,dBi t32,295.451
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V10532 MedWatch [1‘3,264.00] [619.50} tl,3]r'9.00} [1?'5.00} ESBZ.OO) l]&,EBS.St'_|]
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\¢'10359 Navigator Business Solutions 18,512.181 _ {8,512_13}
v10964 Nexriva t2.406.51]_ _ t2,420.89l 1438
\."10365 _Nurse Response t4,50t).00]_ _ _ 14,500.00}
VlD?’BS Parsons, Beh|e St Latimer 132,346.59] _ (32,346.59}
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V10355 Pavel"lex tl,C|ZB.tSS]_ {508.32] l51?.36l
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V10399 Pitne‘,rl Bowes Global Financia| Ser'vices EE,?M.BZ] {1,491,?4! 190.941_ l?.152.24}
V10324 Power P|us C|ean'rng Svsterns inc {4¢1? 505_ {44?.50}
V10403 PR News W`lre Association, LLC [E,SE0.00I {6.820.00}
V10405 Prind|E, Arriaru, Goetz, H`l||\tard, Barnes 8c Heinho|tz LLP [1,?40.2`.-"11_ _ ll,?40.2?]
V10406 Priority Dispatch CDrpOration [1,69? 001 ll,BQ?.U'D]
V10784 Professicna| Benefits Services, |nc, t439.‘35:i (439.95]
Vlt`.'l410 Purizer COrpOr"ation t14,6?1.35}l 1225.‘30i {2,129.}'6|1 13.106.81} {1,195.{.\1} lS,UlZ.S?]
V10594 Q |nteractive [34,311_38} l34,811.33]
V10599 O.ualcomm Life, |nC. [33,620.00l l33,620.00!
v'10430 Ftevco Leasing Companv tBB?.t]Dl _ _ 185?.(.10!
v10582 _Robinson Bros. Construction, |nc. [11,008.51} lll,OOB.Sli
V10336 Rcckwel|, N'lax {3,900.0[]} _ ES,BUU'.UOJ
\»"10956 Rosenb|um, |'v'lark {5,032.04} {2.383.94} 42.693.10}
\¢'10610 R)( Benefits, inc {1.3[]1.19} {390.00} [¢'llO.DO} [1,001.19!
V10¢14E Schvvartz, Sandor [10,000.00} LIU,OO0.0U:
V10754 Seier:t Health {9.092.[}0} 19.092.00} _ _
VlDBSd Shred-|T L.|SA [309.}'0} t61.?4] _ lZ¢lF.QEl
\¢'10759 Sircon Corporation trt.B?] _ {4.3?)
\t10910 Srn'ith Assoe|ates, lnc. tlS.?S0.00] {25,750,00)
VJ.UHZ Standard 8c Poor's F`inancia| Services LLC {100.[]0] _ [100.00)
\.t10859 _State Tas Consu|tants PLLC tl.th‘).DG] {1.400.00}
\.-'104?5 Superior Water and A|r, |nc. {?G.UDJ [35.0t]: 135.001_
\.t10882 Ta`iDoc Technoiegv Corp. {200.00] {200.00}
\r'iO"lSU Tar'lner t84,24t}.94i {84,240.94}
V10483 Telcare tl,??B,BDB_EBi ll.??5.909.29}
ledSB-B Telcare - COD 15?,[]0(}.821- l5.’,000.32] n
V10483-2 Telcare- LO| 041118 1322,2'!6_001 [3?,963_00\ tlBS,ZSZ_Ot]i tilB,BEl.Ot]l
vlortaa-l relcare 09251? Agreomonr isle,oss.zai` ` _ {312,593.23}
VlGE":lS The l.ead Center LLC 1589_30; _ {58‘3.80]
v10663 The \.l'eteran journal {495.00; _ {495.00]
'v'lO§d? Tikl`a Consu|t|ng [1,882_44} t§dS_‘J?l 1?00.55] 249_1? lZ31.49} {650.50]
v10493 Um'ted Parcel Servr`ce l223.?5} lZES.?EJ
VIOSSE UTA ti.$`:l¢lt').t'}@} [2,940.001
v1053? LNU Career Development Center 1250.00l 1250\00l
\¢"10693 Veracity Networks :'EF£ .`C: 15?2 201

 

 

 

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DOC 168 Filed 09/20/18 Page 22 of 27

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Ar:tiveCare, |nc.
Listing of Aged Accounts Pavab|e
August 31. 2018
\r‘endor Code[ Vendor Name l Ba|ance Due l 0 - 30 l 31 - 60 l 61 ~ 90 l 91 - 120 l 121+
'v"lC|'}"DO VicTig [ESJ.LJUI [254.00}
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\1'1056? West L|nifiel:| Communications SEr“viCE$, |ni:. q'2.630.1?l lZ.b:lU.lr’]
\¢"10539 XCast Labs, lnc. [-433.-101 [-'1`55.40}
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Case 18-11659-LSS DOC 168 Filed 09/20/18 Page 23 of 27

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llt re: _-\cti\-'::Care_ lm:.; 46 Bieme ries
Debtcir Pcriod August§l_?_lllé|
ArctiveCare, lnc.
l.isting of Aged discounts Receivabte
August 31, 2018

 

 

 

 

 

customer code | customer same l aoionro noel o - 30 | 31 ~ so | 51 - so l 91 . 120 | 121+
C113-113 Terrebonne Parish Sehoo| Board 35,209_00 31,869.84 30,824.84 23,514.32
ClSO-lOD K|DSPEACE 45,242.59 1,846.88 4,96538 1,563.81 817.92 36,048.60
C129-101 Tule River 38,861.40 ?,4?1.?8 '.-'8531 8,415.62 3.0?9.58 19,108.51
C109~1135 MtDMARI( CORPORAT|ON 3'?,652.02 3,501.6?' 115_99 6,?'0?.83 115.99 _ 2}',210.54
1351-100 _CHAHTER |V|ANUFACTURiNG 23,}'05.00 [115.00] ?`,920.00 ?,Blt].ClO _ 8,590.0£]
ClOQ-llSB COUNT‘|' OF GREENV|E.LE 23,=1?9.88 23,294.00 241.93 _ 156.1[.\]
C109-1121 Womari's Hospital 23,104.94 23,106_08 tl.14l
C120-253 HEALTHCARE SERV!CE GROUP |NC 20,030.?8 1,323.38 1,164.84 11,094,?8 _ 1.684.09 3,}'63.19
ClEE-IDO SALT RNER P||\.-"|A MAR|COPA tNDlAN COMMUNlT‘\" {SRP'|V||C! l?,OM.SS 15,?50.14 [119.11l 1,413.52
ClZ.‘t-IUJ. Ba|dor Specia|tv FOOdS 15,954_28 1,24}'.32 509.95 2,194.60 2,010.64 9,991,2?
Cl3d'101 Ca|casie'u Pari`sh Pol`tce Jur\r-Un'ited 14,556.36 10,326.?'8 505.92 1,055.35 (125.951 2,663.?9
5113-112 COVENANT TRANSPGRT GROUP 14,433_12 '.-",260.00 6,930.00 110.00 133.12
5112»103 Fu|l\,rl lnsured GrOu|J 13,59}'.46 40,998.35 231_98 l1130?-S5l [25.325.02i
ClUB»lll? Te|ecare 13,02`.-".9? 13,020.83 114
Cl£ll-lUS MAR.lANl SUPPLY COMPANY |NC 12,89`!.11 1,413.8? 54?_03 1,083.8?' 9,?'52.34
ClBU~lUZ HOSP|TAL CENTRAL SER\.F|CES 12,002.83 12.002.88
C13 1-1{}2 IACKSON COUNT`¢" BOARD OF SUPER\¢'|SORS 11,52?.24 5,514.61 125_98 5,886.65
C119~119 PUR\¢"lS |NDUSTR|ES 10,258.22 1,051,05 1,08?.01 4,839.?8 959.88 2,32[.\.50
C12C\-144 SOUTHERN H|LLS CO|JNSEL|NG 10,223.82 953.89 431.09 231.98 479.94 8,0?'6.92
Cld}'-lC|'l CHEYENNE R|VER SIOUX TRlBE 10,184.63 341,91 43?_94 8,904.}'8
C12U-118 l(e\r Benefit Administfators 10,148_25 2,26}'.64 l,`r’$$.l? 3,6?3.49 114 2,444.81
C109-114? Lackawanna Countv 8,598.28 8,477.29 120.99
C101~122 TOWER EXTRUS|ONS 3,495.93 8,292.22 [1,825.5i)l 2,029.21
C102~103 Stii|aguamish Tribes Of |nd - Hea|th$mart ?,6?1_49 1,?'15.82 16\3.9? 5,785.?0
CllS-l{il Fort Wavne Meta|s ?,554.58 6,555.65 383.10 625_93
fnl-1031ng West l\r'|ichigan Cnnferenee of the L.Jnited Methodist Church }',431.48 5,396.59 1,245.8?' 131.98 _ 65?_04
C113-101 Ope|ousas General Hea|th 5,\364.5? 1,636.98 4,211.60 115_99
C113-106 Davbrook Fisheries 5,613.22 5,203.12 410_10
C120-204 Resldentia| CRF, lnc. 5,5?1.21 1,60}'.?'? 36?.95 36?'.95 _ 3,22?.54
ClZO-B¢U BRAKEBL|SH BROTHERS |N[ 5,51?.24 4,514.55 489.93 241.9? 2?0.?9
Cl€lS-IUO MOL|NT GRAHAM REGEONAL ME[.`J|L'.AL CENTER 4,830.00 2,585.00 1,485.00 110.00 110.00 540.00
ClCB-IUE EAST BATON ROUGE SHERRlFFS OFFICE 4,026.89 3.389.5? 336 125.93 50?.33
CllB-IUB Home Bank 3,934.14 2.951.9? 9?2.1?
c143-101 SHOSHONE-BANNOCK TR|BES 3,835.53 3.385.53
Cl?O-ISD JASPER COUNTY GO\¢'ERNMENT 3,?33.56 1,739.?4 125.98 1,31'!.84 550.0[)
C.'tSG-lDl MCS|ndustries 3,433.11 505.92 1,331.33 ?5[).18 _ ?50.13
020-944 Scapa Tapes Norti't America LLC 3,248.39 ?53.03 3?5.09 _ 2,120.2?
ClZO-ll? WH|TE'S RES|DENT|AL Er Frl'll\r"t|L‘l'f 3,155.59 1,123.33 3?'?.94 1,53?',811 125.98
Cl§Z-lOU Mever Distributlng 81 Mever Logistics 3,135.00 SSG.OO SB0.00 825.00 _ 550.00
C103-113 Otto Candies 3,064,83 3,1?0.83 1355.101 259.1{}
CIZO'B? |ndiaria |ndustrial, LLC 3,(]12.12 1,835.85 3?5.09 ?50.18
C113-104 AWC, |NC. 2,348.28 2,135.21 _ _ '.-"13,0}'
C111-104-103 Township of Wavne 2,599.93 1,41?.81 263_96 918_15
C112-102 D ll Group 2,403.85 2,403.85
Cll?i-l[.!`i‘r The Powe|| Group 2,3?5.03 2,250.04 115.99
ClZD-SO? ABACL.|S CORPOHAT|ON 2,3?3.83 241.9? 4?9_91'1 963.88 688.04
C113-110 lNTERMOOR, ||'~lC. 2,3?1.19 1,293.02 1,0?8.1?
Cle-lC|Z Louisiana N|achinerv 2,195.?1 2,295.71 1,219.84 l1,219-34l
C132»101 TEXAS ANNLJAL CONFERENCE {TAC] 2,238.92 51?.88 559.99 1,001.05
C104-103 RTACC 2,2?3.83 1,340.94 43'!.94
C129-103 LOWER ELWHA 2,2?2.61 939.90 1,055.92 1?6.?9
C133-104 ST. \¢'RAlN VALLE'¢' SCHOOL D|STRIC'T 2,2',-’0.80 2,15?'.25 113.54
C130-101 _|con Hea|th and Fitness 2,189.?5 _ 2,189.?5
C1451101 EP| Prim:ersf |ric. - SecureOne 2,165.?6 933,91 595.93 595.93 39.99
CJLZO-E»Z]lr _Allied Staff Augmentation 2,0?2.02 251.95 817.92 1,002.14
C103-105 Energv Dri||'ing 119?1_?2 1,9?1,72
C139-101 _BRAKEBUSH |R\r"lNG lNC 1,393.99 1,00?.34 3?5.09 251.96 {36?.95] 62?.05
C12t]~483 _HER|TAGE MANAGEMENT GROLJF |Nt'_` 1,332.90 1,832.90
(_`148~1£]1 C|T‘l'r OF DOUGLAS AR|ZONA l,`.-'EU.OD SBD.OD SSU.L'JU
C103-119 City Of Opelousas 1,?26.86 1,221.83 _ 505,03
ClZU-l.‘tEZ _ALTERRA GROUP |Nt'_` 1,500.36 3?5.09 'r'SD.lS _ 3?5.09
ClZD-?>SO Equit\,l' L`lfestv|e Propertie$ 1,46}'.80 125_98 505.92 _ 735.90
Cl?_D-554 RA|NTREE HOLDENGS LLC 1,454.96 3?5_09 125.93 953.89
0120-1098 _ClTY OF WEST FRANKFORT 1,44?.82 251.§|6 125.98 837.90 _ 231.98
C131-101 ClTY OF PASCAGOULA 1,¢117.01 1,041.92 3?5.09
Clll-lUS-ll& EURGESS CONCRETE CONSTRUL`|'|ON 1,359.88 131.9$ 1,22'.1".90
ClZO-BBB THE TAYLOR & FENN COMPANY 1352 83 509.92 385.00 35?.96
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l'.)el:tor Pcnrxi nub-1151 .‘~l_.-'tt]ls

Ai:tiveCare, lnc.
Llsting of Aged Accounts Receivah|e
August 31, 2018

 

 

 

 

 

Customer Code l Customer Name l Ba|ance Due l 0 - 30 l 31 - 60 l 61 - 00 l 91 - 120 l 121+
CllO-l{]l?r DlLLAFlD~LEWlS |NC DBA H|GHLAND 1,250186 403.95 125_98 35`!.96 35?,95
ClU¢l-ll:|§ BERRY BROS EBPT 1,240111 SBS.UZ 375-09
ClZU-lz? FAYETFE TOOL 811 lE|\||Sl|\lEERll'l|Gl lNC. 1,235.97 3??.94 433.94 3.`¢'5.|]9
cue-1091 cox Lorsisrics Lu: 1,230.12 375.09 orssrt ` ` 315.09
ClIO-HSU Optimun'l C)( 1,230.12 4?9,94 ?50.18
cizn~ssts i<rwco 1,1?1.90 505.92 ` ses_ss
full-532 NOHTH CENTRAL STAFF|NG 1,154.84 1,038.36 125_98
ClZO-1153 COLON|AL AMER|CAN DE\J'ELOPMENT CORP. 1,125.2? 1,125.2}'

ClZU-SBS COCHRAN BROTHERS CON'|PANY LLC 1,102,14 125.98 251.96 375.09 349_11

|:120~1100 KEAT|NG OF CH!CAGO lNC 1,093.35 609`92 241.9? 241.9',-’

ClZU-lllg SANSERVE MGN'|T SERVlCES |NC DBA 1.035.85 4}'9_94 505.92

ClZU-SSO STAN AND SAND‘I‘ ENTERPR|SES FNC 1,059.38 1,069,88

Cl§'¢-lUU GLOBAI_ BRASS 81 CUPPER 1,045.[]'0 335,00 330.00 330.00

Clll-lU4-IOE Se|‘f Funded B€ftefit$ 1,041.85 253.95 ?77.89

C119-125 A|pba Te§tirtg 1,00?.84 135.9? ?45.89 125.98

C]ZU-431 CENTAUR BLJ|LD|NG SER\.\'|CES |NC 985.01 509.92 3?5.09

ClZO-ZZO A_E. BO‘I'CE COMPANY |NC 9??.8? 251.96 125_93 357.96 241_9?

C120-1155 DORO |NC 9??.8? 251.95 ?'25.91

Cl[)é'rl-lU¢i Cit\r Of BEEvillE 959.83 4?9.94 4?9_94

ClZU-IUQO NORTH ADANlS HONlE lNC 959.83 479.94 4?9.94

ClZC|-lSB Cordell Transpurtat'ion 959.83 959 .SS

CllU'lOS¢ THE PERFECT WORI<OUT 929.0? 709_0? 220.00

Clll-lOd-].O? Lo\rver Al|l;\wav$ Creel'< 909.8? 395.9¢1 513_93

C129-102 Sti||aguan'lish Trlbes th |nd-Cap`ltoi 882.50 882.60

6120-169 ‘1'\1'h'1tne\,r Tee| Cempanv, inc. 881.86 ?55.88 125.98

ClZO-HSE lNTERVENTlON FOR PEACE 3?9_01 241.9? 3?5.09 251.95

Cl39-lUU BAKER CHEESE FACTOR‘|" 36?.3`? 489-93 125.93 251_96

ClZU-].USI PH|LL|PS HOME HEALTHL'.ARE 355.03 855_03

ClZU-IUSF AB|L|TYWORK$ |NC 33?.90 33‘}'.90

ClZO-lO'.l'U N|GHT|NGALE'S NUHS|NG 81 AT_TEND 313.94 125.93 68}'.95

Clll~lUB-lll VAR|PRO 796_1'.-" 253.96 531le

ClZO-llEl l\r'lARlAN UN|\I'ERS|T‘|' ?51].18 750118

(_`120-351 LO\¢"ED ONES HON|E CARE, LLC ?M.lg 744,19

C120-.'1144 Medica| Depot |nc 735.90 609.92 125.98

full-334 BLOOMBANK 733.05 ?33.[]'5

C135-lCl'U Oji intertt=_'eb ?31.11 131,98 Bl.ZU 51?.93

Cle-¢EB FlFlSTSPEAFl LLC ?25.91 433.94 241.97

CIZU-SSl KH| SDlutiDr‘lS lnc ?2].91 595.93 125.93

ClSE~lClO CDzEri O'Connor ?15.0{] [335.0|3} 1,100`00

Cll3-102 Keneoi| |nc ?13.0? ?13.0';' _

CllU-§§ZS PlG N PANCAKE ?11.92 ?11.92

C113-103 Candies §hipbuifdef$ ?05.93 llfll.‘}`i’} 34?.9? 599`93

C103-123 NOPS|;"RTA 552.93 125.98 1534 _ 511`06

ClZO-ZSB RCCP, Ll_C 623.19 ll?.lB 125.93 335`03

Clll-lO.?»-ll_r" MASTERPlECE FLOWER COMPANY, LLC. 52'.-".94 263.95 959.96 l595.93l

ClZU-llS§ jack in the 301 61?.06 241.9`,’ 3?5.09

CllU-El&_r" _SALENl V|LLAGE NL..|RS|NG 81 REHAB, LLC. 61'.-".06 _ 61'.-".06

CllS-l{]g GRAND tSLE SHlP‘i"ARD, lNL`. E\IEB‘S _ 615.93

ClZU-SSB STEWART BU|LDERS |NC 509.92 36'.-".95 _ 241.97

ClZD-EUS TRiUMPl-l ENERG`|" 60?.0? 60}"07

ClZU-SB? PATHWAV SEN|OR l_|VlNG LLC 605.92 _ 605,92

Cl¢l‘J-IUU' ClTY OF DOUGLAS AR|ZONA EOS.UO _ 110100 llU.DU 335.00

C12U-?4U Ftu Hurigr\rr Dba HE FOOdS LLC 599.93 367.95 231,93

ClEO-S{M West Virgif‘lia’$ ChOiCE, |rlc. 513.‘31 125_98 36?"35 1938

ClZU-IUZS ST LOU|S PARK|NG CCMPAN‘|" 501.0'.-" 375`09 125,93 _ _

ClZD-]U'¢O DEWBAR MANAGEMENT LLC SUl.l]ir' _ 125.93 375.09

Cl?_l]-ll§? TDL GrOHp 501.0}' _ 501,0}'

C120-?52 $unrise Communtcations 501_01l 125.98 3?5.09

ClZD-SZ? ALL TE)( STAFFiNG 31 CONSULT|NG 501.0?' 501.0?

C139-102 R|PDN AWARDJACKETS |NC 5{)1.0? 125_98 3?5.09

C120-449 DANNER'S |NC 493.93 35?.95 125.98

C111-103-112 MlDWEST FASTENER CORP 484.56 434.55

CIZD-S?'D SECURCARE SELF STORAGE |NC 483.94 241.9? 241.9?

CIZO~IUQT ADVANCED MFG TECHNOLOG|ES |NC 433.90 336 479.94

ClZU-lU'M THE WOOD GROUP 4?9.94 4}’9.94

ClIU-IUSY WELCH EXCAVATlON 31 UT|LETY COM 4?‘3.94 4?9.94

ClZU-ll?il EMPLOYER EMPLO\"MENT SOLUTlClNS OF NEW YORK -UQE‘J 4?9.94
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De:btor Perrod r\ugust_‘|_ZCIlH
ActiveCare. lnc.
Listing of Rged accounts Receivahle
August 31, 2018

 

 

 

Customer Code l Customer Narne l Balance Duej 0 - 30 l 31 ~ 60 l 61 ~ 90 l 91 - 120 l 121+
C120'1135 PERFIYLEE HOME HEALTH CARE SERV 4?9.94 4?'9.94
C120-1155 Prernier l~lome Hea|th 4?9.94 4?9.94
ClZU-Sld MCLEMORE BU|LDING N'|A|NTENANCE 4?9.94 4?9.94
C120-620 Abbco Service Corporation 4?9.9:1 4?9.94 n
1120-680 Fus'ion Contact Centers LLC 4?9.94 4?9.94
C120-?31 F|v Gem |ndustries |nc 4?9.94 479.94
C12U-819 NAT|ONAL PAYROLL SERV|CES |NC 4?9.94 479.94
Cl2D-820 355 WDRX |NC 4?9.94 4?9.94
C120»996 |TSO.UEST lNC 4?9_94 4?9.94
C120-461 ENA lNC DBA NECCO 4?3.95 4?3,95
CJ.OS'IUE |SG 458.88 468.38
ClEO-ME CREAT|VE CH|LD t'.`.ARE |NC 451.98 451.98
ClZU~lllU HER|TAGE HEALTHCARE MANAGEMENT 440100 440.00
6139-103 Eden $tcne Con‘tpanv, lnc. 392,22 392.22
ClZS-]OO Bl's Bingo 3 Gaming 383.95 159.98 159.98 54.00
ClD'.-"-lt]l |\.l'laterial Hand|ir\g 3??.94 3??'.94
Cl]l-lOS-lt}§ l'-LElS& VANDENBR|NK 3?5.95 3?5.95
6103-118 PRE|S 81 RO\', PLC 375_09 3?5.09
ClZD-IDO? HEARTLAND RES|DENT|AL SERV|CES 3?5.09 375.09
Cl?_t]~lt)B Fred Weber, lnc. 375_09 3?5.09
C120-104¢1 RL.|N HARGE`F|' FlL.|N LLC 3?5.09 3?5.09
C120-10'99 DA|GLE O|L COMPAN\" 3?5.09 3?5.09
020-1138 EBERL CLA||\¢"|S SER\."lCE LLC 3?5.09 3?'5.09
6120-1143 Ape)< Express 3?5.09 3?5.09
C120~1145 KS Port'lo|io N'|aster $NF Holdco LLC 3?5.09 3?5.09
C120-1148 RHW Capital Management 3?5.09 375.09
C120~1154 HEAN$SLER OIL CO. |NC. 3?'5.09 3?5.09
tlle-1164 CiT‘r' OF PERL.| 3?5.09 3?5.09
1120-1155 |NTER||V| HEALTHCARE OF W|CH|TA 3?5.09 3?5_09
ClZU-l?t'.l lNTER|l\r'l HEALTHCARE OF SPOKANE 3`.-’5.09 3?5.09
ClZO-l`,-’I lod, |nc, 3?5.09 3?5.09
1120-131 Wavsvs. LLC 3?5.09 3?5.09
1120-324 GOSH ENTERPR|SES, |NC. 3?5.09 3?5.09
ClZD-?SS US Trades LLC 3?5.09 3?5.09
6120-800 P|at'inurn Express 3?5.09 375.09
ClZO-$SIS SHEPHERD OF THE HiLl_S ENTERTA|NMENT GRDL.|P 375.09 3?5.09
C120-9519 WEST QUAL|TY 3?5.09 3?5.09
1141-109 |\l[]'R‘tr'\lr¢\‘lr SAV|NGS BANK 3?5.09 3}'5.09
ClZO~llOS HON'|E CARE COMPAN|ONS |NC 36?.95 241.9? 125.93
film-395 ALLEN BL.|TLER CONSTRUCT|GN |NC 36}'.95 125.98 241.9?'

C120-?B3 Brian W_ Stevvar‘t 31 Assoc |nc 36}',95 125,98 241.9?

film-345 2 RESORTS MANAGEMENT 365.10 355.10

C146-102 DEUTSCH I(ERRIGAN {DK} 365,10 365.10

film-200 MC Products Cut'p 35?,96 35?.95
(_`146-101 BEARD CDNSTRUC`|'|DN GROUP 330.00 110.00 110.00 110.00

C12t]-5?3 SHANE 31 KFt|STtNE ENTERPR|SES 2?5_00 1?5.00
C111-10¢110 Carne\,¢"$ Po`lnt Township 263.96 263.96

C111-103-1t]4 FOUR R|VERS RESOURCE SF_R\¢'ICE 253.9? 253,9}'
(_`120-1104 TALERLCO NlART|N CORP 251.95 125_98 125_98
C12t]-110? FAC|LKOLLC DBA ¥AC|LKO SRVCS 251,95 125.98 125_98
C12t)-111? S.P_D. RESOURCES L.P. 251.95 241,9? 939
(_`120-18}' 35‘5, lnc. 251,95 251,95

C120-2`.l'? Nlodern Abrasives Corp 251.95 251.96

C120-528 NlNl| HOSP|TAL|TY GROUP lNC 251.95 125.93 125,‘38

C120-902 SAYLE OlL COMPANY |NC 251.95 125.93 125.98
C103-10? TMC 249.11 l0.101_ 249_21
Clll-lUd-lll SAN'|L.|EL CORALL.|ZZO, CO., |NC. 243.98 243.93
CllQ-llU Childs Corporation 241.9? 241_9?

C120-1004 N||DWEST PETROLEL.|M CON|PAN\" 241.9? 241.9'1"

CiZO-lDlE MASTEL LiNEN |NC 241.9? 241,9}'

C120-1053 HR lMAGING PARTNERS |NC. 241.9? 241,9?

ClZO-IGEB MEATS BY L|NZ |NC. 241.9? 241.9?
C120-155 D|Y Group, lnc. 241.9? 241.9?

t2120-507ll K|DZ |NK 241.9? 241.9?
C120'550 PROF MA|NTENANCE Ol'- C|NCFNNAT| 241.9? 241.9?

ClZU-TQB Media Riders |nc 241.9? 241,9?

ClZU-BM CONTACTUS LLC 241.9? 241.9}’

 

 

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Debtor Pcriod: r\ugtm_i].l[l|l!
Acttvecare, lnc.

Listing of Aged Arccounts Receivab|e
August 31, 2018

 

 

 

 

Customer Code l Customer Name l Balam:e Due l 0 - 30 l 31 - 60 l 61 - 90 l 91 ~ 120 l 121+

ClZU-BS? CENTUR|ON ENTERPR|SES LLC 241.9? 241.9?
C141-10?' 5000 T|MES LJNL|M|TED lN{_`. 135.9`! 135,9}'
C120~1024 _HAROLD DA\¢"|D §|'OR‘|" lNC DBA 133.12 n 133.12
Clll-lOB-IUS G. A. R|L`HARDS 131,93 131_98
c111-1oa-104 rownship or iviohwao 131,98 ` 131.98
6119-125 Daugnters of Marv 125.98 125,98
ClZU-].DOB Nl|D-GA COUR|EF{ INC 125.93 125.98
C.‘lZU-].OS? LANDCOAST |NSULAT|ON |NC. 125.98 125.93
ClZD-lUSS I(ENG MANAGEMEN`|" COMPANY 125.98 125.98
ClZU-IUSQ CAN`|'EEN SERV!CES |NC 125.93 125.98
ClZD-IUQZ HSG LLC DBA H|Gl"l SPEED GEAR 125.‘33 125.98
Cl20-1115 AFF|L|ATED HOSP|TALlT\" LLC DBA 125.93 125,93
ClEt]-llSU ACCESS WOrld LLC 125.98 125.93
C1201126 COMMERC|AL SEH'\¢"|CE 125.93 125.98
C120-154 Penz Froducts, lnc. 125.98 125_98
1320-192 COOk f.`hevrolet O|dS inc 125.93 125.98
6120-213 Countrv Home Managernent 125.98 125,98
C120~245 Cla\¢' Coolev Nissan 125.93 125.98
ClZU-ElZZ DARWOOD MANUFACTL.|R|NG CON'|PANY 125.98 125.98
C120-423 BRUCETON FARM SER\¢"|CE |NC 125.98 125.98
ClZD-'QEB CUBBLESTONE AUTO SPA 125,98 125.98
C120-4Tr'4 GAY 81 SON MA$ONRY LLC. 125.98 125.93
C120-4BS |RA E, CLAFIK DETECTNE AGENC\" 115.98 125.98
ClZO-SOZ IANCOR jAN|TOR|-AL SERV'|CES 125.93 125.93
ClZU-512 LAUTREC LTD 125.98 125.98
C120»514 LEAKAS QUAL|TY FOODS |NC 125.93 _ 125.93
C120-529 MORGAN OlL CO|'U'[PANY lNC 125.93 125.98
Cl20-5?? SPEC|ALTY FRODL.|CTS & SERV|CES 125.98 125.93
{_`120-643 Best Fender PrOduCts lnc 125.98 125.98
C120-645 Burgermaker 125.98 125.98
C120-634 Grace Franchise Operating Co 125.98 125.93
ClZU-ESB Gus Perdikakis Associates lnc 125.98 125_98
C120-?91 _Grand Countrv |nc 125.93 125.98
ClZD-S?.l A PLL..|S MA|NTENANCE th'_` 125.98 125.98
C120'356 ENV{S|ON FOODS LLC 125.93 125.98
ClZU'SE.‘L GREENWOOD LEFLORE EDUCAT[ONAL 125.93 125_98
5120-915 STAFFlNG RESOURCES |NC` 125.93 125.98
ClZD~QSl SUN'S CLL.|B, lNC. 125.98 _ 125.98
ClZD-BS? BURKE HOSF|CE AND PALL|AT|VE CARE 125.98 125.98
C120~9}".-’ T||\r'lBER BL|NDS LLC 125.98 125_98
C120-986 CENERGY SHlFBU|LDiNG LLC 125.98 125.93
C120»994 FRED 81 DEBEiE |NC 125.93 125.98
Cl41-102 BANCROFI' CONTRAC'T|NG CORPORATEON 125.98 125.98
Cl41»104 COLBY&GALE lNC 125.93 125.93
Cl41~105 DENCO SEFW'|CES |NC. 125.93 _ 125.93
C14111t]6 HEBRON ACADEMY, |NC. 125.98 125.93 _
C109-1143 Laiavette Genera| Hea|th 120,99 120_99
ClZDrlOSS ADAl\r-"|S 31 BAR&'_`LA¥ ENTERPR|SE |N llU_OO llU.DC|
C109-1144 Wa§te lndustr`les $5.?? 55.7}'
C111-105-114 B|ue Flidge Card`ro|ogv 81 |nterna| Nledicine 29.99 _ 2939
C111-103-113 Lifecare Ambulance Service 699 639
C103-102 Town of tv'|amou 6.02 502
ClZO-BSZ ELECTR|CAL CONTRA\'..`|'ORS, lNC. UAS 0.43
C111-105-105 Wi||iamsburg Regiona| Hostpita| lllZ_OOl tllZ_UOl
C103~101 Transit Management cf Southeast Louisiana 11209.?3: ilog- 1311
{.`120‘333 A&L HON'|ECAF|E & TRA|N|NG CNTR EZSl.E|Sl _ _ [2311.98}|
C103-115 _Dvnamtc Energv [334.14|' _ [334_14l
ClZO-TBU Pij Management |nC [35?.96} _ {35?.96}
1320-313 Worl<now |nc [3?5.09} _ {3?5.0'9}
ClZO-ng TEiv'iSta, lnc. {483.94] l483.94]
ClZD-?SB Fourteen Foods 1!5(}.18] l?50.15]
ClZS-¢‘l» AHDl Comrrter€ial Services [E¢,?SB_BSl [6,?33.85}

| 691.485.89 l 295,015.31 | s1,1ss.54 l 109.836.45 l 16,406.60 | 189,035.99

 

 

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